Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/02/15 Page|D.162 Page 1 of 22

EXHIBIT C

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/02/15 Page|D.l€S Page 2 of 22

Lydia Waterman
1561 Carlton Street
Muskegon, Ml 49442

October 8, 2015

Hon. Robert Hohnes Bell
United States District Court

Your Honour,

I am writing you today, so I can briefly explain what I know of Pablo Fierro. I first met Pablo in
November of 2008 when I was hired at his restaurant I worked there for him and his family for a
few years. I was always impressed by Pablo’s determination He spent many hours assuring his
business creation was running smooth. He is a creative, caring, and hardworking man, Who
taught me everything I know about service and restaurant work.

I am currently a server today working at Bob Evans, while attending baker college for Human
Resources and Business Management. I can honestly credit Pablo for my degree choice. I never
was sure what in wanted to do with my life before ; but after learning and gaining direction from
Pablo, I was able to figure it out. I am truly thankful that I was able to learn from him.

I am asking you to please consider Pablo’s character when deciding a sentence, and exercise
leniency. l understand he committed social security fraud, and was wrong. He made a terrible
choice, but he is a good man, who loves his farriin dearly. I can guarantee he feels true remorse.
Thank you so much for your time and consideration, by allowing me to tell you what I know of
Pablo’s character.

Sincerely,

Lydia Waterman

alj W‘~"W

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/02/15 Page|D.164 Page 3 of 22

Hon. Robert Holmes Bell

UNITED STATES DISTRICT COURT
110 Michigan Street, N. W. Room 602
Grand Rapids, MI 49503-2313

To Whom lt May Concern:

Please accept this letter on behalf of Mr. Pablo Fierro who is currently being held on federal charges at
the Newaygo Federal Facility.

My husband and I have known Pablo and his beautiful family for over 30-years. I miss immediately admit
that we were, to say the least, surprised to learn of this serious predicament

The Pablo we have come to know and love over the years is a dedicated family man to his adoring wife,
Zulema; daughters, Veronica, Connie, and Elizabeth; and grandchildren. We have found him to be a hard
worker, trustworthy, respectful, brave and even law-abiding. That said he is also very ‘macho’,
overprotective and prideful traits we believe led to his poor choices from the get-go. We firmly believe
had he shared his struggles with a friend or counsel he would not be in the position he is in today.

Atter speaking with him it was quite evident that he is beyond mortified to have brought such shame upon
himself and family. His lack of judgement has affected his wife’s health and has ruined them both
tinancially, of which they will probably never quite recover from; needless to say he has accepted
responsibility and is remorseful for his lack of judgement

Pablo is a good man; a man who made a stupid decision...a really stupid one. Our hope and prayer is that
the sentence imposed by you soon will take his family into consideration thus allowing them to begin the
healing process.

Sincerely,

Juan and Olivia Mancilla
3091 McDermott St.
Muskegon MI 49444
(231) 855-2474

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/02/15 Page|D.165 Page 4 of 22

September 18, 2015

Hon. Robert Holmes Bell

United States District Court

110 Michigan Street, N.W., Room 602
Grand Rapids, Michigan 49503-2313

The Honorable Robert Holmes Bell:

I’m providing this character reference on behalf of Pablo Razo Fierro. Pablo is a person of good
moral character. I realized that might seem hard to believe, given the circumstances, but it’s true
nonetheless. I have known Pablo for more than fifteen years, and in that time have seen how
hardworking family man he always has been.

I have much admiration for Pablo for the love and dedication he has for his family. He is a very
dependable man who always helps everyone in need in every possible way he can. He is sincere
and thoughtful; always putting others first above himself.

Pablo is a good, trustworthy, and dignified man who has made a terrible mistake. I truly believe
that everyone would be better served if he was kept out of prison and allowed to continue to be
with his family. I humny ask that you do not alter the direction of his life based on a bad
decision.

Should you need to verify any of my statements above, please free to call me (773) 317-4007.

Sincerely yours,

%UWW

Laura Quezada
Family Friend

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/02/15 PagelD.166 Page 5 of 22

October 13, 2015

Hon. Robert Holmes Be|l

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room 603
Grand Rapids, Michigan 49503-2313

Dear Honorable Judge Holmes Bell,

| am writing this letter about a man l have known my whole life. He is not only my grandfather but he is my
biggest role model. lf l look up to one person it is this man Pablo Fierro. My grandfather is a wonderful man
and always has been. This incident may have changed the way people view my grandfather but it will never
change the way l view him. l know he has made a very big mistake, and l completely understand that. | am
not writing this letter only because he is my grandfather but l am writing it because l believe people should
know the person he ls before being judged on a mistake he made. Everyone makes mistakesl some bigger
than others but it is the way you fix the mistake or learn from it that matters. l can guarantee you your honor
that my grandfather is very sorry for what he has done and everyday he is away he has learned how much
he messed up.

My grandfather has always been what l call the “glue” to our family and without him times are very hard back
at home. l see my family breaking apart more everyday because he is away and not here to make
everything better. l also see my grandmother, who has got sicker than she has ever been and the man who
was always there to care for her is not able to right now. ¥our honor, | do not want you to think l am writing
this letter for pity, but more for an explanation on who my grandfather really is and how this one mistake has
broken many people apartl

Pablo Fierro was known very well throughout the community. He worked long hours everyday, had more
than one job just to provide for his wife and daughters Regard|ess of the pain he was feeling, or how tired
he was he never failed to make it to work because he knew he had to. My grandfather taught me many
things growing up, he taught me the importance of family, work and education. He made sure l knew how
important it was to stay close to my family, how important it was to know how to work to be able to provide
for myself, and how important it was to stay in school because graduating was very rare in my family and he
did not want me working long hours without an education like he had to.

The day my grandfather had to leave to begin paying for his mistake was a day l did not take very easily.
Everything seemed to be coming back together and my grandfather seemed very happy. He had to leave at
a time l felt l needed him the most, l needed his support when l went away to my freshman year of college
this summer and he was not there to give it to me. l know that my grandfather wants nothing more than to
mend his mistake and the problems lt has created. But l also believe it would be easier for him to mend his
mistake lf he was given one chance to do it back at home. Everyone makes mistakes, and everyone
deserves a chance to make it better. l am writing this your honor in hopes that you will take into
consideration the type of person my grandfather is versus the way one may view him over a mistake he
made. Thank you for taking the time to read this letter.

§r/i\cerely You`;:)j t
Mireya%no

1553 Haverhill Road
Muskegon, Michigan 49441
(231) 288-2806

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.167 Page 6 of 22

October 2, 2015

Hon. Robert Holmes Be|l
United States District Court
110 l\/lichigan Street, N.W., Room 603

Grand Rapids, Michigan 49503-2313
Your Honor,

‘ l have known Pablo Fierro for forty years. l was introduced to him by my godparents, lose and
luana Quintero. l remember how fond|y they talked about how hard working and a great family man he
was. As a teenager, this left a great impression on me. As time went on l realized many people of the
Hispanic community held him in high regards.

ln my adult life l got to see Pablo often. He is a man of many qualities. Pablo is a devoted
husband, father and grandfather. He is the pillar of his family. There is no harder working individual than
him. He is also a great friend to have. Pablo is always willing to help his friends by listening to their
problems or giving advice.

One Christmas holiday my entire family had left the state. They were spending Christmas in
Texas. Being a single mom with three small children, l Was feeling sad. Somehow Pablo heard my
children and l were spending Christmas alone. He invited me and my children to spend Christmas at his
house with his family. This act of generosity is what describes what kind of human being Pablo is.

l believe in my heart that Pablo did not intentionally try to do any harm. l hope the court grants
him the greatest leniency possible and allows him to return to his family, friends and community.

Very Sincerely,

l\/laria Dolores Garcia
3033 Fifth Street

l\/luskegon Heights, l\/li 49444

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.168 Page 7 of 22

Hon. Robert Ho|mes Be|l

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W. Room 602
Grand Rapids, Mi 49503-2313

Your Honor

| am writing you in regards to Pablo Fierro. My name is Janneth Rodriguez and l'm his
granddaughter in law. l‘ve known Mr. Fierro for seven years now. l also worked for him as a
waitress. l have nothing bad to say about him. He's one of the most hard working people l've
ever known. He is a wonderful great granddad as well as a great father and grandfather. He's
always put everyone first.

He helped me by giving me employment in his restaurant to help me support my family. He was
also thereto comfort me when l was having a very difficult time with my depression and gave
me a home when | didn't have anywhere else to go. You see being a young single mother of two
todd|er boys life always hasn't been easy for me. When l couldn't afford diapers or formula l
could always count on him for help. At times l didn't even need to ask because he just knew my
children needed something He's helped so many people other than myself get back on their
feet. Pablo has a heart of gold & without all of his generosity l would have been lost.

Pablo made a big mistake but l truly feel that he deserves a second chance. | know he regrets
what he did and wants to make it right He's a very Honest man if you give him another chance
then you will see for yourself l pray for leniency when he stands' in front of you to be sentenced.
Thank you for taking the time to read my letter.

Si cerer

anneth Rodriguez ZO¢{/?/?
' 2313294438

1172 W. Da|e ,'
Muskegon, Mi 49441

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.169 Page 8 of 22
October 3, 2015

Hon. Robert Holmes Bell

UNITED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room 603
Grand Rapids, Michigan 49503-2313

Dear Honorable Judge Holmes Bell,

My name is Shanna Lopez and I have known Pablo Fierro for 6 years I started as an employee at
his restaurant and slowly became family. He is a strong, caring, giving and kind hearted man. He
is also a man of business He worked extremely hard and it wasn't for him. He didn't do it to be
rich he did it to be able to provide for his family. He wanted to give his wife, 3 daughters and his
grandchildren the life he didn't have, a better one. He is such an amazing farnin man. The best
parts of his days are spent showing his love to his family and everyone he knows.

He did make a mistake, He is living with that mistake, We are all living with this mistake. What I
do know is that he has learned from it. He lost everything He lost his home, his business, his
life, the respect he has earned over the year in the community... Everything. I don't ask that you
let him go because every action has a consequences However I do ask for leniency. All this
family really wants is to have their heart back. We want to be able to move on from this terrible
experience where bad judgment and bad advice lead to such terrible circumstances l do
appreciate the time you have taken to read my letter. I hope that these letters make your decision
a little easier. Once again thank you for your time.

Sin@(:l:;lk/VV\/*/
Shanna Lopez

1657 Beidler St
Muskegon, Michigan 49441
(231) 343-2145

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.17O Page 9 of 22
September 25, 2015

Hon. Robert Holmes Bell

UNITED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room 603
Grand Rapids, Michigan 495 03-23 13

Dear Honorable Judge Holmes Bell,

l have known Mr. Pablo R. Fierro my whole life. He is my grand-uncle on my fathers’
side. l believe to be in a position to provide you with a pretty accurate assessment of his
character. l can confirm that he is a man of great integrity, and is extremely dedicated to
his family and always has been a striver when it comes down to his work.

Please accept this letter l write about a man whom l will always have great respect and
admiration for. When l think of my uncle, What comes to mind is the value that Was
emphasized about the importance of work. My grand-aunt, Zulema would babysit me
often, and l recall from a young age that he was “sick” often, days at a time in bed. At
family dinners, the conversations always included “there is no choice but to work.”

lt is this mind Set of “l must provide for my family, l am not a priority, l am not ill” that I
believe attributed to where We stand now. l am not trying to down play the Seriousness of
federal charges, to which my grand-uncle has accepted responsibility for the lack of
judgment This letter is to somewhat give you your Honor, an understanding of the train
of thought behind this great man.

My grand-uncle, Pablo is at the end of the day, human. We all make mistakes and this
circumstance has been, believe me the hardest on him. His health is much worse at this
time, his wife’s health has also been affected, to which of course he blamcs himself for. lt
is disheartening to see the extent our family has gone thru. He and my grand~aunt are
physically and financially going to have hardship for the rest of their lives

They are in my thoughts and prayers all the time, and l trust that come sentencing day,
your judgment will be finally let closure and healing begin.

Ange ica Castanon

750 West Southern Avenue
Muskegon, Michigan 49441
(231) 733-4997

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.171 Page 10 of 22

October 5, 2015

Hon. Robert Ho|mes Bell

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room 603
Grand Rapids, Michigan 49503-2313

Dear Honorable Judge Ho|mes Bell,

P|ease accept this letter about a man who is my biggest role model. l have had the honor of
knowing Mr. Pablo Fierro my whole life. Not only does he hold the title of husband, but also of,
father, uncle, grandfather, brother, friend, and provider. He is my grand-uncle on my fathers’
side and my godfather. My dad’s father passed away when he was very young and my uncle
took it upon himself to be there for him in any way possible. He is like a second father to my dad
and for my brothers and me, he is the grandpa we never had.

l can honestly say that my uncle is the most hardwcrking person |’ve ever met. Even on days
when he wasn’t feeling we||, he still went to work. No matter what the circumstances were, his
family came first He implanted in us the value of family and always made sure to bring us
together for the holidays

My grand-unc|e, insti||ed in me the importance of an education and a degree even if he did not
have one. He taught me the importance of working hard to achieve my goals and how
eventually it pays off. l am currently in my junior year of college and working towards pursuing a
Master’s degree. Without his love, support, and inspiration | don’t know where l would be. These
circumstances have been very hard on my whole family. But, they in no way change my view of
my uncle because at the end of the day he is still my hero. Heroes are human too and can make
errors He has accepted the seriousness of his lack ofjudgement and l know he wants nothing
more but to mend his faults. The best to me are those who work hard and still remain humble,
which is what my uncle represents

l write this |etter, not to trivialize the federal charges pressed, but to provide you your Honor,
with the background cfa remarkable man who made a mistake.

Sincerely,

Rosa Castanon

1657 Beidler Street
Muskegon, Nlichigan 49441
(231) 955-2835

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.172 Page 11 of 22
September 26, 2015

Hon. Robert Holmes Bell

UNITED STATES DISTRICT COURT
110 Michigan Street, N. W., Room 603 l
Grand Rapids, Michigan 495 03-23 13

Your Honor,

It’s been my distinct pleasure to have known Pablo for over twenty years During that period of time I
struggled with a divorce and spent nearly every evening during that period of time in his restaurant as I
had nowhere else to go. He always made it a point to stop and check in on me personally whenever I was
in. He never pried but understood there must have been some reason i frequented his establishment
beyond a hot meal.

Later I struggled with my own business during the crash of the housing market and again he exercised
empathy and compassion to the point of providing me a hot meal even when I could not afford it.
Again, when I returned to college to change my vocation he helped me out when I was a struggling
student, taking a personal interest in my well being and full belly.He’s always treated me as one of his
own and never required anything in return for his generosity.

Pablo is the heart of his family and a brick in the foundation of our local community. He embodies the
principles of hard work, family, and community. He is a giver, not a taker. To me personally he has been
an inspiration and I aspirc to embody the example he's provided of what it means to be positive,
contributing member of our community. I’ve not spent time with him outside his beloved restaurants but
the other members of his family have extended the same graciousness and courtesy that he has, his
example and contribution are his legacy.

It would truly be a shame if it were irreparably damaged by unfortunate circumstance and miss
understanding My uncle, Judge Michael E. Kobza had often spoke to me about exercising equity in
dispensing justice from his court In principle and practice these two men were not so different It is my
firm belief that Pablo did not, could not, intentionally do harm.

It is my strongest hope that you will examine closely all circumstances and provide him with the greatest
leniency and equity your guidelines will allow so that he may continue to support his family and
contribution within our community as one of the finest examples of a gentleman I’ve witnessed over this
twenty year period.

 

1125 Madison St. Apt. 505
Alexandria, Virginia 22314

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.173 Page 12 of 22

Hon. Robert Holmes Bell

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W. Room 602
Grand Rapids, lV|i 49503-2313

Dear Honorable Judge Ho|mes Bell

My name is Dereko Riley. l am the boyfriend of Pablo Fierros granddaughter, Mireya Briceno.
|'ve known Mr. Fierro for a year and a half now. Throughout that period of time it made me
realize how great loving and caring he was He welcomed me into his arms, and into his family
without hesitation. l witnessed and had very humorous moments with him while at it. This man
made me feel as if l was his own grandchild. He made me feel welcomed and like l was with my
own biological family. Only if you can picture that image. Those loving and very joyful moments
you have with your family. lt was the best feeling that l have ever received in my entire life. That
feeling that stuck with me and will never go away. lt was just so touching because what type of
person would accept a complete stranger into their family. lt's not normal unless you know every
detail about that person. He is that person that welcomes people with a strong feeling of
cordiality.

Despite the mistake that he has made it doesn't change any feelings l have for him. This man
has changed lives in many different ways. lncluding my life as one of many. | know for a fact
that he has a painful and deep regret for his wrongdoing Wrth knowing that l also know that if
he had the chance to make things right he wou|d. lf he had that second chance he would not
make the same mistake and l'm sure of it. Every step would be towards the right direction
because he deeply regrets what he's done & the pain he has caused his family.

Mr. Fierro is the rock of his family and the chief of his household This is something that is
missed very much from everyone. He has kept everything and everyone intact for such a long
time.

What is the next step? We try not to expect the worst and we continue to pray for the best
outcome. This is one of the strongest men that l have ever met. He has changed me in a better
way and l thank him for that. l see a positive, caring, loving and joyful man waiting to see his
beautiful family on the outside.

incerely
Qr/a

ereko Riley
(231)736-7887

 

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October 8, 2015

Hon. Robert Holmes Bell

UNlTED STATES DlSTRlCT COURT
110 Michigan Street, N.W. Room 602
Grand Rapids, Mi 49503-2313

Your Honor,

|'ve had the pleasure to know Pablo Fierro through his Daughter Connie Briceno. We have been
co-workers and best friends for the past five years We became best friends because she has
such a kind, loving and giving heart! l have never met someone so giving like she is in my whole
life and l always wondered where she got that from. What made her so special? Then | met her
father Pablo Fierro.

The day he met me for the first time he gave me a hug and said thank you for being so kind to
my daughter when she needed someone the most l've witnessed first hand how Pablo treats
his family. l have never seen a father put so much love and attention into his children,
grandchildren, and wife the way Pablo does He loves his family with a grace filled heart

l now know why my best friend is the way she isl lt's because of her dad and the way he loves
them. But it not just them it's others around him. He can see when someone truly needs help
and l would not doubt for a second that he would take»the shirt off his back if l said l needed it. l
pray and hope soon he will be with his family againl Celebrafing his growing grandchildrens
birthdays, having christmas together and just enjoying the simple and priceless memories every
grandfather who loves their family should have.

l know the Fierro family wants nothing more than to have Pablo back. l ask the court that
leniency is used when he is sentenced so he can go horne and take care of his sick wife &
continue to give back to our community.

Sincerely,

Erin Zaragoza
231 -740-0332

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.175 Page 14 of 22
October 10th, 2015

Hon. Robert Holmes Bell

UNITED STATES DISTRICT COURT
110 Michigan Street, N. W., Room 603
Grand Rapids, Michigan 49503-2313

Your Honor,

Please accept this letter on behalf of Pablo R. Fierro. We have known Mr. Fierro for several years, we
first met him while visiting a local establishment for dinner. I have known from the very beginning, what
a great man he is. He is a family man, an amazing father and grandfather to his three daughters and his
grand-children and a loving, caring, and supportive husband to beautiful wife, Pablo is an exceptional
friend, one who goes out of his way to help those who are a little less fortunate feel important regardless
of his own situation. Always putting other before himself.

Mr. Fierro is an extremely hard working, dependable worker providing the needs of his family and others
His work ethics and leadership skill are those that every American should learn from. Mr. Fierro has
always accepted my family as part of his own; my daughters adore him much like their own Papal It is
very difficult for us to see such a loving, caring, hard-working, all around great individual in his current
situation. Everyone makes mistakes, butl can honestly say that his was not intentional but a way for him
to better provide for his family as so many of us struggle in today’s world.

I would hope and pray for you to consider giving Pablo R. Fierro the freedom he deserves so that those of
us Who love him and care about hirn can once again see his family together, happy and complete againl

Sincerely,

agree

Mrs. Adam Smith
2485 Norcrest Drive
Muskegon, M[ 49441
231.725.5021

 

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October 6, 2015

Hon. Robert Holmes Bell

UNITED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room #602
Grand Rapids, Michigan 49503-2313

RE: United States v. Pablo Razo Fierro
No. 1:12-cr-98

Dear Sir,

We have known Pablo Fierro since he opened his
restaurant in ZOOB.We have always considered him to be a
kind, friendly, hardworking sincere man who was trying
to make a better life for his family.

He has been an asset to our community building
friendships while also providing job opportunities

We do acknowledge the seriousness of this case but ask
the court for leniency as you impose sentence

Thank you,
Russ & Cindy Stone

1541 Palmer Avenue
Muskegon l\/ll 49441

 

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October 10th, 2015

Hon. Robert Holmes Bell

UNITED STATES DIS'IRICT COURT
110 Michigan Street, N. W., Room 603
Grand Rapids, Michigan 495 03 -23 13

Your Honor,

This letter is to inform you that we have known Pablo Fierro since 1990. Pablos has always been a
Christian man helping his church in any way. He is a great family man, anyone would like him as a father.
He is a very loving and caring father to his children and grandchildren As a friend, if whenever any of his
friends or family needed something, he has always been there either for material things or just advise.

Him and his wife are my oldest daughter’s Godparents. He has always given good advice to her.

Overall Pablo Fierro is a loving, caring, and Christian man and we are blessed that we have him as a
friend.

l you need any further infonnation, you may contact my wife or I at 616-392-4339.

Thank you,

Valentin H. Beltran

Rose Beltran

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.178 Page 17 of 22

Tuesday, October 13, 2015

Hon. Robert Holmes Bell

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room 602
Grand Rapids, Michigan 49503-2313

Your Honorable Robert Holmes Be|l:
My name is Brittney Leighton. l am writing to urge your leniency in the sentence cfa very great
man known as Pablo Fierro.

l believe l am in a position to speak upon Pablo's moral character, so i hope you will take this
letter into account when making your decision. Of course everyone has so many special years
of knowing him, i have also had the pleasure of knowing him for a little over 7 years

He is most definitely aware of the seriousness of the crime he was convicted of, but this is not
the man i know. l'd like to give you a perspective that shows that he is more than the sum of his
actions He has been my boss, my friend, and also my inspiration on how not giving up no
matter how hard the days been. Which is something i find to be the most important thing when
you have a loving wife and family to take care of. He's the most courageous and hard working
man in so many lives young and old.

During the 7 years of knowing him, he has always been there for anyone to lend a hand to our
community, family, and friends His family who i have the pleasure to consider a part of my
family, all have that little sparkle in there eye when they talk about their dad, husband, or uncle
Pablo. i don't know where i would be without the love, and graciousness of him and his family.
Which l'd like to say his daughters are a perfect reflection to his hard work and his strong sense
of duty. He would go without just to make sure someone else was taken care of.

lt must be difficult for you to make decisions like this when you don't actually know the person
standing in front of you, so i hope you will look at my letter and the countless others you're
receiving, and understand that Pablo Fierro is the kind of person around whom people rally.
That has to say something, so please let that be a factor of your decision.

Sincerely,
Brittney Leighton

\’ v

455 Mitzi st Apt 10
Muskegon Mi 49445
(231)769-9999

 

Case 1:12-cr-00098-RHB ECF No. 32-3 filed 12/O2/15 PagelD.179 Page 18 of 22

October 13, 2015

Hon. Robert Holmes Bell

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W., Room 602
Grand Rapids, Michigan 49503-2313

Your Honor,

Mr. Pablo R. Fierro is the father of a very close friend of mine. She and l met in High School; l
was welcomed into the family with open arms, and we have remained friends throughout the
past 22 years Throughout these years l have been witness to Mr. Fierro’s undeniable
unwavering love for his family. Mr. Fierro is a huge family man always wanting what is best for
his family and others around him.

Mr. Fierro has always referred to me as his fourth daughter. Some of my fondest teenage
memories include the many overnights spent at Mr. Fierro’s with him & his family. During these
years Mr. Fierro showed extreme generosity by taking his wife and the four of us girls to a local
Dance Club. Each of us would get dressed up in beautiful dresses and treated like the
princesses we were for an evening. Mr. Fierro showed me that a father’s love is truly
unconditional and irreplaceable.

Mr. Fierro showed extreme concern for his daughter's’ education. As a result, he and his wife
put all three of their daughters through a local private Catholic Elementary & High School. lt has
always been important to him that his families remain close. He helped instill family closeness
in each of his girls by insisting they remain together throughout most of their school years

Mr. Fierro made a mistake and has been learning from it for months Both he and family have
suffered immensely from his mistake. He is human. His wonderful positive qualities greatly
outweigh his weaknesses and flaws His daughters are all walking examples of such positive,
hard working, qualities He would be a perfect person to use to give back to the community
through community service. His health is continuing to get worse as is his wife’s. l plead with
the court to exercise leniency with his sentencing

Very Sincerely,
Adrianne Thompson
3532 E. Manitou Cir.
Nortcn Shores, Ml 49441

 

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Hon. Robert Holmes Bell

UNlTED STATES DlSTRlCT COURT
110 Michigan Street, N. W. Room 602
Grand Rapids, MI 49503-2313

Your Honor,

l am writing you this letter to share with you my personal knowledge of Pablo Fierro. I have had the
pleasure of knowing Pablo for over fifteen years I attended school with one of Pablo’s daughters when l
was younger and was also employed by him as an adult

Pablo worked very hard to take care of his farriin and make sure his children received a good education
There wasn’t anything Pablo wouldn’t do for his farriin to make sure they were taken care of. I have
always known Pablo to be very loving and caring father and man to not only his three daughters but all of
his grandchildren, and other family members The Fierro family has always been a very close family but
would open up their family to others

Pablo was and is a very well known man in his community not just for his cooking but for his kind and
loving personality. He was the type of man that would give you the shirt off his back and would try his
hardest to help everyone out I hope that the court will take into consideration the qualities i have listed
above.

Sincerely,

Jeanine Brown

1312 Pahner Ave
Muskegon, MI 49441
(231) 343-5543

 

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October 17, 2015

Hon. Robert Holmes Bell

UN|TED STATES DlSTRlCT COURT
110 Michigan Street, N.W. Room 602
Grand Rapids, Mi 49503-2313

Your Honor,

l am writing this letter in regards to Pablo Fierro. l have known Pablo for about 2 years now. The
reason l know their family is through his daughter, Connie Briceno.

The first time l met Pablo l came into the restaurant with a friend who worked there at the time.
He gave us both a hug and introduced himself to me. He then sat down with us at the table and
talked with us and joked around and shared funny stories with us. l instantly knew he was
someone l would want to get to know.

After l started working there, Pablo and l started to really connect He was kind to me and joked
with me all day long. instead of dreading going into work every day, like many people do, l
looked fonivard to it every day because of Pablo's bright and infectious personality. l knew he
would come in laughingl enjoying every day while improving mine. l sincerely miss his presence

Connie has so much love in her heart, and l see where she gets it from. Pablo is a special

b person; He is kind hearted, selfless, and is passionate about everything he does He loves his
family more than anything in the world. He would go to the ends of the earth for them and would
not stop at that He would help anyone in need without a second of hesitation. He truly cares for
every customer that comes into the restaurant making a unique and long lasting connection
with each one of them. People have been coming into the restaurant for many years not just for
the food but for the environment he creates He is one of the hardest working people l have ever
met Pablo has a pure heart, and we all miss what he brings to his family, his friends, and the
restaurant

P|ease consider leniency at his sentencing Pablo knows he was wrong and deserves a second
chance. Thank you for taking the time to read my letter.

Sincerely,

,_

 

Emily Manchester
231-740-0332

2052 Kinsey Sf
Muskegon, Mi 49441

 

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